Case 5:20-cv-01087-SMH-MLH Document 8-7 Filed 01/22/21 Page 1 of 1 PageID #: 80

                                                    United States Department of Justice

                                                    United States Attorney’s Office
                                                    Western District of Louisiana


 January 21, 2021                                    United States Courthouse
                                                     300 Fannin Street, Suite 3201
                                                                                     United States Courthouse
                                                                                     800 Lafayette Street, Suite 2200
                                                     Shreveport, Louisiana 71101     Lafayette, Louisiana 70501
                                                     Telephone: 318-676-3600         Telephone: 337-262-6618
                                                     Facsimile: 318-676-3641         Facsimile: 337-262-6693


 CERTIFIED MAIL-
 RETURN RECEIPT REQUESTED
 7019 2280 0000 4555 7809
 Wendi L. LaBorde
 79885 Ciego Drive
 Bermuda Dunes, CA 92203


        RE:    United States of America v. Wendi L. LaBorde et al; Case No. 20-cv-01087;
               United States District Court; Western District of Louisiana, Shreveport Division

 Dear Ms. LaBorde:

         Pursuant to the Federal Rules of Civil Procedure 4(e)(1) and Louisiana Revised Statute
 Title 13 § 3204, please find a service copy of the Summons and Complaint filed by United States
 of America in the above referenced matter.

                                            Sincerely,

                                            ALEXANDER C. VAN HOOK
                                            Acting United States Attorney

                                     By:    s/ Shannon T. Brown
                                            SHANNON T. BROWN
                                            Assistant United States Attorney
                                            Shreveport Office – (318) 676-3600




 STB/ss
 Enclosures




                                                                                                          GOVERNMENT
                                                                                                            EXHIBIT

                                                                                                                   6
